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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
DELTA DIVISION

BETTYE BEDWELL, Chapter 7 Trustee of the
Bankruptcy Estate of Arthur Levy PLAINTIFF

Vv. No. 2:18-cv-108-DPM

G. ADAM COSSEY; HUDSON POTTS &
BERNSTEIN LLP; and JOHN DOES 1-10 DEFENDANTS

ORDER

Joint report, Doc. 104, noted. The parties have a discovery dispute
about whether the Brandon Stelly and Angela Daigle depositions
should remain confidential. Neither the Protective Order, Doc. 87, nor
the Order denying the motion to exclude the email chain, Doc. 100,
resolves that dispute. And the Court can’t do so without reviewing the
depositions. Motion to seal, Doc. 105, conditionally granted. Bedwell
must file the depositions under seal and send a courtesy copy to
chambers. The Court would also appreciate a second joint report that

explains each side’s position. Transcripts and second joint report due

by 28 October 2020.
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So Ordered.

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D.P. Marshall Jr.
United States District Judge

 
